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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


ROBERT GLASSCOCK, individually,               Case No.
and as representative of a Class of
Participants and Beneficiaries, on Behalf
of the Serco Inc. 401(k) Retirement Plan;
                                              CLASS ACTION COMPLAINT FOR
              Plaintiff,                      CLAIMS UNDER 29 U.S.C. § 1132(a)(2)

       v.

SERCO, INC.;

              Defendant.




       NOW COMES Plaintiff Robert Glasscock, individually and as representative of

a Class of Participants and Beneficiaries on Behalf of the Serco, Inc. 401(k) Retirement

Plan, and asserts to the best of his knowledge, information and belief, formed after an

inquiry reasonable under the circumstances, the following:

                                    INTRODUCTION

       1.     ERISA’s essential remedial purpose” is “to protect the beneficiaries of

private pension plans.” Nachwalter v. Christie, 805 F.2d 956, 962 (11th Cir. 1986). See also

Sweda v. Univ. of Pa., 923 F.3d 320, 327 (3d Cir. 2019) (“ERISA furthers ‘the national

public interest in safeguarding anticipated employee benefits’ upon which individuals’
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livelihoods depend.”).1 To advance that essential purpose, ERISA places fiduciary

duties on persons responsible for administering pension plans that are the “highest

known to law.” ITPE Pension Fund v. Hall, 334 F.3d 1011, 1013 (11th Cir. 2003). ERISA’s

duty of loyalty requires a fiduciary to “discharge his duties with respect to a plan solely

in the interest of the participants and beneficiaries” and “for the exclusive purpose of:

(i) providing benefits to participants and their beneficiaries; and (ii) defraying

reasonable expenses of administering the plan.” 29 U.S.C. §1104(a)(1)(A). Further,

ERISA’s duty of prudence requires a fiduciary to discharge his duties “with the care,

skill, prudence, and diligence under the circumstances then prevailing that a prudent

man acting in a like capacity and familiar with such matters would use in the conduct of

a like character and with like aims.” 29 U.S.C. § 1104(a)(1)(B).

         2.     Specifically, the law is settled that ERISA fiduciaries have a duty to

evaluate fees and expenses when selecting investments as well as a continuing duty to

monitor fees and expenses of selected investments and remove imprudent ones. See

Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828 (2015) (“a trustee has a continuing duty to

monitor trust investments and remove imprudent ones” where plaintiff alleged

defendants imprudently offered higher-priced funds when materially identical lower-

priced mutual funds were available); Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 595

(8th Cir. 2009) (claim that fiduciary selected higher-cost investments when identical

lower-cost options were available stated claim for breach of fiduciary duty). See also e.g.,



1   Unless indicated otherwise, cited and quoted cases are omitted.

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29 U.S.C. §1104(a)(1)(A) (fiduciary duty includes “defraying reasonable expenses of

administering the plan”); 29 C.F.R. § 2550.404a-1(b)(i) (ERISA fiduciary must give

“appropriate consideration to those facts and circumstances” that “are relevant to the

particular investment”). Indeed, a fiduciary’s duty to evaluate and monitor investment

fees and expenses is “‘derived from the common law of trusts,’” a body of law that

defines “the contours of an ERISA fiduciary’s duty…” Tibble, 135 S. Ct. at 1828. Under

trust law, a trustee is to “incur only costs that are reasonable in amount and appropriate

to the investment responsibilities of the trusteeship.” Restatement (Third) Of Trusts §

90(c)(3); see also id. § 88, cmt. a (“Implicit in a trustee’s fiduciary duties is a duty to be

cost-conscious.”). And it is for good reason that ERISA requires fiduciaries to be cost-

conscious:

       Expenses, such as management or administrative fees, can sometimes
       significantly reduce the value of an account in a defined-contribution
       plan,” Tibble, 135 S. Ct. at 1826, by decreasing its immediate value, and by
       depriving the participant of the prospective value of funds that would
       have continued to grow if not taken out in fees.

Sweda v. Univ. of Pa., 923 F.3d 320, 328 (3d Cir. 2019).

       3.      Defendant Serco, Inc. is an ERISA fiduciary as it exercises discretionary

authority or discretionary control over the 401(k) defined contribution pension plan –

known as the Serco, Inc. 401(k) Retirement Plan (the “Plan”) - that it sponsors and

provides to its employees.

       4.      For at least 21 of the 30 mutual funds share classes available within the

Plan, the same issuer offered a different share class from that selected by the Plan that

charged lower fees, and consistently achieved higher returns; the Plan, however,
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inexplicably failed to select these lower fee-charging and better-return producing share

classes. As well, the administrative fees charged to Plan participants were consistently

greater than the fees of more than 90 percent of comparable 401(k) plans, when fees are

calculated as cost per participant or when fees are calculated as a percent of total

assets.

          5.   These investment options and unreasonable fees cannot be justified.

Their presence confirms more than simply sloppy business practice; their presence is

the result of a breach of the fiduciary duties owed by Serco, Inc. to Plan participants

and beneficiaries. Prudent fiduciaries of 401(k) plans continuously monitor

administrative fees against applicable benchmarks and peer groups to identify

unreasonable and unjustifiable fees. To remedy, Plaintiff brings this action on behalf of

the Plan under 29 U.S.C. § 1132(a)(2) to enforce Serco, Inc.’s liability under 29 U.S.C. §

1109(a) to make good to the Plan all losses resulting from Serco, Inc.’s breaches of

fiduciary duty.

                              JURISDICTION AND VENUE

          6.   This Court has jurisdiction in this ERISA matter via 28 U.S.C. § 1331.

          7.   Venue is appropriate in this district because the Defendant and Plaintiff

may be found in this judicial district within the meaning of 29 U.S.C. § 1132(e)(2).

          8.   In conformity with 29 U.S.C. §1132(h), Plaintiff will serve the original

Complaint by certified mail on the Secretary of Labor and the Secretary of the

Treasury.




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                                        PARTIES

       9.     Plaintiff Robert Glasscock lives in and is a Poquoson, Virginia, and during

the Class period, was a participant in the Plan under 29 U.S.C. § 1002(7).

       10.    The named Plaintiff and all participants in the Plan suffered financial

harm as a result of the imprudent or unreasonable investment and fee options in the

Plan. Serco’s selection and retention of these options resulted in higher administrative

fees than the Plan and its participants and beneficiaries should have paid, as well as

poorer net investment performance, had Serco satisfied its fiduciary obligations. All

participants and the Plan continue to be harmed by the ongoing inclusion of these

investment options.

       11.    Serco, Inc. (“Serco”) is a company with its principal headquarters located

at 12930 Worldgate Drive, Suite 600, Herndon, Virginia. Serco is a citizen of the state of

Virginia. In this Complaint, “Serco” refers to the named defendant and all parent,

subsidiary, related, predecessor, and successor entities to which these allegations

pertain. Serco is the Plan sponsor and Plan administrator of the Serco Inc. 401(k)

Retirement Plan.

       12.    Serco is a fiduciary with ultimate authority and responsibility for the

control, management, and administration of the Plan in accord with 29 U.S.C. § 1102(a).

Serco has exclusive responsibility and complete discretionary authority to control the

operation, management, and administration of the Plan, with all powers necessary to

properly carry out such responsibilities.




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       13.    The Plan is a “defined contribution” pension plan under 29 U.S.C. §

1102(2)(A) and 1002(34), meaning that Serco’s contribution to the payment of Plan costs

is guaranteed but the pension benefits are not.

       14.    The Plan is established and maintained under a written document in

accord with 29 U.S.C. § 1102(a)(1). The Plan provides for retirement income for eligible

Serco employees and their beneficiaries.

                          ERISA’s FIDUCIARY STANDARDS

       15.    ERISA imposes strict fiduciary standards of duty and loyalty and

prudence on Serco as a Plan fiduciary. 29 U.S.C. § 1104(a)(1) provides in relevant part:

              [A] fiduciary shall discharge his duties with respect to a plan solely
              in the interest of the participants and beneficiaries and –
              (A) for the exclusive purpose of:
                      (i) providing benefits to participants and their beneficiaries;
                      and
                      (ii) defraying reasonable expenses of administering the plan;
              [and]
              (B) with the care, skill, prudence, and diligence under the
              circumstances then prevailing that a prudent man acting in a like
              capacity and familiar with such matters would use in the conduct
              of an enterprise of like character and with like aims.

       16.    With certain exceptions not relevant here, 29 U.S.C. § 1103(c)(1) provides

in relevant part:

              the assets of a plan shall never inure to the benefit of any employer
              and shall be held for the exclusive purposes of providing benefits
              to participants in the plan and their beneficiaries and defraying
              reasonable expenses of administering the plan.

       17.    29 U.S.C. § 1109 provides in relevant part:

              Any person who is a fiduciary with respect to a plan who breaches
              any of the responsibilities, obligations, or duties imposed upon

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              fiduciaries by this subchapter shall be personally liable to make
              good to such plan any losses to the plan resulting from each such
              breach, and to restore to such plan any profits of such fiduciary
              which have been made through use of assets of the plan by the
              fiduciary, and shall be subject to such other equitable or remedial
              relief as the court may deem appropriate, including removal of
              such fiduciary.

       18.    Under ERISA, fiduciaries that exercise any authority or control over plan

assets, including the selection of plan investments and service providers, must act

prudently and for the exclusive benefit of participants in the plan, and not for the

benefit of third parties including service providers to the plan such as recordkeepers

and those who provide investment products. Fiduciaries must ensure that the amount

of fees paid to those service providers is no more than reasonable. DOL Adv. Op. 97-

15A; DOL Adv. Op. 97-16A; see also 29 U.S.C. §1103(c)(1) (plan assets “shall be held for

the exclusive purposes of providing benefits to participants in the plan and their

beneficiaries and defraying reasonable expenses of administering the plan”).

       19.    “[T]he duty to conduct an independent investigation into the merits of a

particular investment” is “the most basic of ERISA’s investment fiduciary duties.” In re

Unisys Savings Plan Litig., 74 F.3d 420, 435 (3d Cir. 1996); Katsaros v. Cody, 744 F.2d 270,

279 (2nd Cir. 1984) (fiduciaries must use “the appropriate methods to investigate the

merits” of plan investments). Fiduciaries must “initially determine, and continue to

monitor, the prudence of each investment option available to plan participants.”

DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 423 (4th Cir. 2007); (emphasis original); see also

29 C.F.R. § 2550.404a-1; DOL Adv. Opinion 98-04A; DOL Adv. Opinion 88-16A. Thus, a

defined contribution plan fiduciary cannot “insulate itself from liability by the simple

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expedient of including a very large number of investment alternatives in its portfolio

and then shifting to the participants the responsibility for choosing among them.”

Hecker v. Deere & Co., 569 F.3d 708, 711 (7th Cir. 2009). Fiduciaries have “a continuing

duty to monitor investments and remove imprudent ones[.]” Tibble v. Edison Int’l, 135 S.

Ct. 1823, 1828-29 (2015).

       20.      “Congress intended the term ‘fiduciary’ to be construed broadly.” Patten

v. N. Trust Co., 703 F.Supp.2d 799, 808 (N.D. Ill. 2010). “Although Plan documents may

expressly name fiduciaries for certain purposes, a person may also be considered a

‘functional fiduciary’ if he falls within ERISA’s definition of the term. Id., citing, Plumb

v. Fluid Pump Serv., Inc., 124 F.3d 849, 855 (7th Cir. 1997). Under ERISA,

       a person is a fiduciary with respect to a plan to the extent (i) he exercises any
       discretionary authority or discretionary control respecting management of such
       plan or exercises any authority or control respecting management or disposition
       of its assets, (ii) he renders investment advice for a fee or other compensation,
       direct or indirect, with respect to any moneys or other property of such plan, or
       has any authority or responsibility to do so, or (iii) he has any discretionary
       authority or discretionary responsibility in the administration of such plan. 29
       U.S.C. §1002(21)(A).

The determination of a defendant’s fiduciary status is a fact intensive one, making it

premature for disposition at the Rule 12(b)(6) dismissal stage. Patten, 703 F.Supp.2d at

808-09.

          21.   29 U.S.C. § 1132(a)(2) authorizes plan participants to bring a civil action

for appropriate relief under 29 U.S.C. § 1109.




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                                       THE PLAN

       22.    At least since 2013, the Serco Plan had more than 10,000 participants and

assets exceeding $250 million. At the end of 2018, the Plan had 9,757 participants and

$335,077,840 in assets. The Serco Plan offered about 30 different investment choices to

its participants.

       23.    At all relevant times, the Serco Plan’s fees were excessive when compared

with other comparable 401k plans offered by other sponsors that had similar numbers

of plan participants, and similar amounts of money under management. The excessive

fees led to lower net returns than participants in comparable 401k plans enjoyed.

       24.    There are commercially available programs commonly used by financial

advisors and plan fiduciaries to analyze plans’ performance, comparative costs and

other key indicators.

       25.     The commercially available programs require validated information

because financial information submitted to the federal government is often incomplete

or contains errors. The program used for the analysis below contains validated financial

information from more than 55,000 financial plans of all types. The benchmarking

analysis is of the type employed by fiduciaries and financial advisors to determine the

productivity and efficiency of financial programs and is appropriately used here.

       26.    A benchmarking analysis of the type often employed by fiduciaries and

financial advisors shows that the administrative fees charged to Plan participants is

greater than over 90 percent of its comparator fees when fees are calculated as cost per

participant, or as a percent of total assets. In 2017, the Plan’s expenses amounted to

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.81% of assets under management, or $236.64 per participant. The Plan’s expenses are

nearly double those of the mean among 26 comparator plans with more than 10,000

participants of $128.48 per participant. Similarly, among a per group of 22 Plans with an

asset range between $250 million and $500 million, the mean expenses were .41% of

assets under management, which again compared unfavorably with the Plan’s fees

representing .81% of assets. Comparisons in prior year show similar variances between

the Serco Plan and comparator groups.

       27.    These excessive fees cannot be justified. An examination of the

investment options the Plan fiduciaries chose, and available alternatives they either did

not consider or did not choose, provides telling examples of why they breached their

fiduciary duties.

       28.    The Plan Fees that follow are expressed as a percentage of assets under

management, or “expense ratio.” For example, if the mutual fund share class deducts

1% of fund assets each year in fees, the fund’s expense ratio would be 1%, or 100 basis

points (or bps). (One basis point is equal to 1/100th of one percent (or 0.01%). The fees

deducted from a mutual fund’s assets reduce the value of the shares owned by fund

investors. As of December 31, 2018, the Plan offered participants share classes from 30

investment selections in which they could invest. The issuers of 21 of these investments

offered different share classes that charged lower fees and had materially better rates of

return. The holders of different share classes held the same investments and were

subject to the same restrictions concerning deposits and withdrawals. The only

difference between share classes was that the lower-cost share classes were available

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only to Plans that had larger investments – but in all cases, Serco’s Plan, with more than

$250 million in assets, was large enough to qualify for the lower cost share class. For

example, the T. Rowe Price Class Share Class I have been open to Plans with aggregate

assets greater than $1 million since they were created in 2015, a threshold easily met by

the Serco Plan. The Plan could have, but did not, offer the lower cost share classes to

participants.

       29.      Data regarding fees and performance in the charts that follow are taken

from Morningstar.com as of December 12, 2019.

2018


   Plan Fund          Serco’s Plan       Identical         Identical      Serco’s Plan’s
                          Fee          lower-cost or      lower-cost      Excessive Fees
                                       share classes    share class fee        (%)

 T. Rowe Price           54 bps       T. Rowe Price I       41 bps             34%
 Target 2005                          2005 I (TRPFX)
 (TRARX)                              T. Rowe Price         41 bps             34%
                                      Target 2005 I
                                      (TFRRX)
 T. Rowe Price           54 bps       T. Rowe Price I       40 bps             35%
 Target 2010                          2010 I (TRPAX)
 (TRROX)                              T. Rowe Price         39 bps             38%
                                      Target 2010 I
                                      (TORFX)
 T. Rowe Price           56 bps       T. Rowe Price I       43 bps             30%
 Target 2015                          2015 I (TRFGX)
 (TRRTX)                              T. Rowe Price         42 bps             25%
                                      Target 2015 I
                                      (TTRTX)
 T. Rowe Price           58 bps       T. Rowe Price I       46 bps             26%
 Target 2020                          2020 I (TRBRX)
 (TRRUX)                              T. Rowe Price         44 bps             32%
                                      Target 2020 I
                                      (TTURX)

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 T. Rowe Price      61 bps     T. Rowe Price I    50 bps           22%
 Target 2025                   2025 I (TRPHX)
 (TRRVX)                       T. Rowe Price      47 bps           30%
                               Target 2025 I
                               (TRVVX)
 T. Rowe Price      64 bps     T. Rowe Price I    53 bps           21%
 Target 2030                   2030 I (TRPCX)
 (TRRWX)                       T. Rowe Price      50 bps           28%
                               Target 2030 I
                               (TWRRX)
 T. Rowe Price      67 bps     T. Rowe Price I    53 bps           26%
 Target 2035                   2035 I (TRPJX)
 (RPGRX)                       T. Rowe Price      53 bps           26%
                               Target 2035 I
                               (TPGPX)
 T. Rowe Price      70 bps     T. Rowe Price I    58 bps           21%
 Target 2040                   2040 I (TRPDX)
 (TRHRX)                       T. Rowe Price      56 bps           25%
                               Target 2040 I
                               (TRXRX)
 T. Rowe Price      71 bps     T. Rowe Price I    59 bps           20%
 Target 2045                   2045 I (TRPKX)
 (RPTFX)                       T. Rowe Price      57 bps           25%
                               Target 2045 I
                               (TRFWX)
 T. Rowe Price      72 bps     T. Rowe Price I    59 bps           22%
 Target 2050                   2050 I
 (TRFOX)                       (TRPMX)
                               T. Rowe Price      58 bps           24%
                               Target 2050 I
                               (TOORX)
 T. Rowe Price      72 bps     T. Rowe Price I    59 bps           22%
 Target 2055                   2055 I (TRPNX)
 (TRFFX)                       T. Rowe Price      58 bps           24%
                               Target 2055 I
                               (TRPPX)
 T. Rowe Price      73 bps     T. Rowe Price I    59 bps           24%
 Target 2060                   2060 I (TRPLX)
 (TRTFX)                       T. Rowe Price      59 bps           24%
                               Target 2060 I
                               (TTOIX)



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 MFS Value R3       83 bps     MFS Value R6       48 bps           73%
 (MEIHX)                       (MEIKX)
                               MFS Value I        58 bps           43%
                               (MEIIX)
 MFS Mid Cap        83 bps     MFS Mid Cap        69 bps           23%
 Value I                       Value R6
 (MCVIX)                       (MVCKX)
 American           79 bps     American           46 bps           72%
 Funds Capital                 Funds Capital
 World Gr&Inc.                 World Gr&Inc.
 R4 (RWIEX)                    R6 (RGGGX)
                               American           49 bps           61%
                               Funds Capital
                               World Gr&Inc.
                               R5 (RWIFX)
 JHancock           155 bps    JHancock           140 bps          11%
 Alternative                   Alternative
 Asset Allc R4                 Asset Allc. I
 (JAASX)                       (JAAIX)
                               JHancock           130 bps          19%
                               Alternative
                               Asset Allc. R6
                               (JAARX)
 Metropolitan       44 bps     Metropolitan       37 bps           19%
 West Total                    West Total
 Return Bond I                 Return Bond
 (MWTIX)                       Plan (MWTSX)
 BlackRock          61 bps     BlackRock          50 bps           22%
 High Yield                    High Yield
 Bond Instl.                   Bond K
 (BHYIX)                       (BRHYX)
 Templeton          69 bps     Templeton          57 bps           21%
 Global Bond                   Global Bond
 Adv (TGBAX)                   R6 (FBNRX)
 BlackRock          82 bps     BlackRock          74 bps           11%
 Strategic                     Strategic
 Income Opps                   Income Opps.
 Instl. (BSIIX)                K (BSIKX)




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        30.   The lower cost share classes offered approximately the same savings in

earlier years as well. In all cases, the lower-cost shares had higher 3-year rates of return

than the higher-priced shares that Serco offered to Plan participants:

2018:


  Plan Mutual       Serco’s 3 Year       Identical lower-cost               3 Year
  Fund Share           Return            mutual fund 3 year                 Return
     Class                                      return

 T. Rowe Price          6.37%         T. Rowe Price I 2005 I                 6.77%
 Target 2005                          (TRPFX)
 (TRARX)                              T. Rowe Price Target 2005              6.49%
                                      I
                                      (TFRRX)
 T. Rowe Price          6.53%         T. Rowe Price I 2010 I                 7.24%
 Target 2010                          (TRPAX)
 (TRROX)                              T. Rowe Price Target 2010              6.64%
                                      I (TORFX)
 T. Rowe Price          7.33%         T. Rowe Price I 2015 I                 8.76%
 Target 2015                          (TRFGX)
 (TRRTX)                              T. Rowe Price Target 2015              7.44%
                                      I (TTRTX)
 T. Rowe Price          7.94%         T. Rowe Price I 2020 I                 9.47%
 Target 2020                          (TRBRX)
 (TRRUX)                              T. Rowe Price Target 2020              8.10%
                                      I (TTURX)
 T. Rowe Price          7.94%         T. Rowe Price I 2025 I                10.07%
 Target 2025                          (TRPHX)
 (TRRVX)                              T. Rowe Price Target 2025              8.10%
                                      I (TRVVX)

 T. Rowe Price          8.64%         T. Rowe Price I 2030 I                10.07%
 Target 2030                          (TRPCX)
 (TRRWX)                              T. Rowe Price Target 2030              8.82%
                                      I (TWRRX)
 T. Rowe Price          9.30%         T. Rowe Price I 2035 I                10.56%
 Target 2035                          (TRPJX)
 (RPGRX)                              T. Rowe Price Target 2035              9.44%
                                      I (TPGPX)

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 T. Rowe Price      9.83%      T. Rowe Price I 2040 I          10.93%
 Target 2040                   (TRPDX)
 (TRHRX)                       T. Rowe Price Target 2040       10.00%
                               I (TRXRX)
 T. Rowe Price      10.21%     T. Rowe Price I 2045 I          11.09%
 Target 2045                   (TRPKX)
 (RPTFX)                       T. Rowe Price Target 2045       10.38%
                               I (TRFWX)
 T. Rowe Price      10.93%     T. Rowe Price I 2050 I          11.48%
 Target 2050                   (TRPMX)
 (TRFOX)                       T. Rowe Price Target 2050       11.05%
                               I (TOORX)
 T. Rowe Price      11.19%     T. Rowe Price I 2055 I          11.48%
 Target 2055                   (TRPNX)
 (TRFFX)                       T. Rowe Price Target 2055       11.34%
                               I (TRPPX)
 T. Rowe Price      11.26%     T. Rowe Price I 2060 I          11.51%
 Target 2060                   (TRPLX)
 (TRTFX)                       T. Rowe Price Target 2060       11.42%
                               I (TTOIX)
 MFS Value R3       10.16%     MFS Value R6 (MEIKX)            10.52%
 (MEIHX)                       MFS Value I (MEEIX)              9.70%
 MFS Mid Cap          %        MFS Mid Cap Value R6             6.75%
 Value I                       (MVCKX)
 (MCVIX)
 American           10.78%     American Funds Capital          13.61%
 Funds Capital                 World Gr&Inc. R-6
 World Gr&Inc.                 (RGGGX)
 R4 (RWIEX)                    American Funds Capital          11.11%
                               World Gr&Inc. R5
                               (RWIFX)
 JHancock           3.45%      JHancock Alternative            3.61%
 Alternative                   Asset Allc. I (JAAIX)
 Asset Allc R4                 JHancock Alternative            3.73%
 (JAASX)                       Asset Allc. R6 (JAARX)
 Metropolitan       4.21%      Metropolitan West Total         4.29%
 West Total                    Return Bond Plan
 Return Bond I                 (MWTSX)
 (MWTIX)
 Black Rock         6.43%      BlackRock High Yield            6.54%
 High Yield                    Bond K (BRHYX)



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 Bond Instl.
 (BHYIX)
 Templeton              1.44%        Templeton Global Bond             1.58%
 Global Bond                         R6 (FBNRX)
 Adv (TGBAX)
 BlackRock              3.76%        BlackRock Strategic               3.88%
 Strategic                           Income Opps. K (BSIKX)
 Income Opps
 Instl. (BSIIX)

Similar performance differential occurred in earlier years.


       31.   The following compares individual plan return with less expensive plans:

2018


  Plan Mutual          5 Year          Identical lower-cost mutual        5 Year
     Fund              Return                      fund                   Return

 Voya Large            17.93%        Voya Large-Cap Growth I              17.96%
 Cap Growth                          (PLCIX)
 Port I (IEOHX)
 Fidelity              10.01%        Fidelity Mid Cap Index               10.89%
 Extended                            (FSMDX)
 Market Index
 (FSMAX)
 T. Rowe Price         15.98%        T. Rowe Price Instl. Mid-Cap         16.54%
 Mid-Cap                             Equity Growth (PMEGX)
 Growth I
 (RPTIX)
 Voya SmallCap          6.41%        Vanguard Explorer Fund               15.12%
 Opportunities                       Admiral Shares (VEXRX)
 Port I (IVSOX)
 American              11.20%        Vanguard International Growth        16.66%
 Funds                               Fund Investor Shares (VWIGX)
 Europacific
 Growth R6
 (RERGX)




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       32.    Plaintiff had no knowledge of Defendant’s process for selecting

investments and monitoring them to ensure they remained prudent. Plaintiff also had

no knowledge of how the fees charged to and paid by Serco Plan participants compared

to any other funds. Nor did Plaintiff know about the availability of lower-cost and

better-performing (and other essentially identical) investment options that Serco did not

offer because Serco provided no comparative information to allow Plaintiff to evaluate

and compare Serco’s investment options.

       33.    By selecting and retaining the Plan’s unreasonably expensive cost

investments while failing to adequately investigate the use of lower cost share classes,

offered by the same investment companies, or superior, lower-cost mutual funds from

other fund companies that were readily available to the Plan, Serco caused Plan

participants to lose millions of dollars of their retirement savings through unreasonable

fees and poorly performing investments.

                        THE OVERCHARGES BREACHED
                DEFENDANT’S FIDUCIARY OBLIGATIONS TO THE PLAN

       34.     The administrative fees of the investment offerings were paid for by the

Plan participants. Serco, as fiduciary, was responsible for ensuring that these

administrative fees were reasonable.

       35.    A plan’s fiduciaries have control over defined contribution plan expenses.

The fiduciaries have exclusive control over the menu of investment options to which

participants may direct the assets in their accounts. Those selections each have their




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own fees, which are deducted from the returns that participants receive on their

investments.

       36.     At retirement, employees’ benefits are limited to the value of their own

individual investment accounts, which is determined by the market performance of

employee and employer contributions, less expenses. Accordingly, unreasonable fees

can impair the value of a participant’s account. Over time, even small differences in fees

and performance can result in large differences in the amount of savings available at

retirement.

       37.     Prudent fiduciaries exercising control over administration of a plan and

the selection and monitoring of designated investment alternatives will take steps to

minimize plan expenses by hiring low-cost service providers and by curating a menu of

low-cost investment options. See, Restatement (Third) of Trusts § 90 cmt. b (“[C]ost-

conscious management is fundamental to prudence in the investment function. . . .”).

       38.     In fact, the duty of prudence imposed under 29 U.S.C. § 1104(a)(1)(B) is a

codification of the common law prudent investor rule found in trust law.

       39.     Given the significant variation in total plan fees attributable to plan size,

the reasonableness of administrative expenses and investment management expenses

should be determined by comparison to other similarly-sized plans. See, 29 U.S.C. §

1104(a)(1)(B) (requiring ERISA fiduciaries to discharge their duties in the manner “that

a prudent man acting in a like capacity and familiar with such matters would use in the

conduct of an enterprise of a like character”).



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       40.    A fiduciary must initially determine, and continue to monitor, the

prudence of each investment option available to plan participants. A plan fiduciary

cannot assume that an investment that began as a prudent one will remain so,

particularly when the original circumstances change or the investment reveals itself to

be deficient. An ERISA fiduciary's investment decisions also must account for changed

circumstances and a trustee who simply ignores changed circumstances that have

increased the risk of loss to the trust's beneficiaries is imprudent.

       41.    As illustrated above, the Serco Plan’s administrative fees could in many

cases be significantly reduced simply by electing a different share class offered by the

same issuer, or substantially identical fund from a different issuer, and are consistently

well above the 90th percentile among its comparator peers, regardless whether the

comparison is based on cost per participant or percentage of assets.

       42.    Prudent fiduciaries of large defined contribution plans must conduct an

analysis to determine whether investments will outperform their benchmark net of fees.

Prudent fiduciaries then make a reasoned decision as to whether it is in participants’

best interest to offer specific funds or share classes for the particular investment style

and asset class.

       43.    Prudent fiduciaries of defined contribution plans continuously monitor

the investment performance of plan options against applicable benchmarks and peer

groups to identify underperforming investments. Based on this process, prudent

fiduciaries replace those imprudent investments with better-performing and reasonably

priced options.

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       44.    Serco is not a prudent fiduciary of the Plan because it did not make a

reasoned decision to offer specific funds or share classes to the Plan participants as

described herein.

       45.    Serco is not a prudent fiduciary because it failed to continuously monitor

the investment performance of its plan options against applicable benchmarks and peer

groups, and it failed to identify and replace underperforming investments with better-

performing and reasonably priced options.

                                CLASS ACTION ALLEGATIONS

       46.    29 U.S.C. § 1132(a)(2) authorizes any participant or beneficiary of the Plan

to bring an action individually on behalf of the Plan to enforce a breaching fiduciary’s

liability to the Plan under 29 U.S.C. § 1109(a).

       47.    In acting in this representative capacity, Plaintiff seeks to certify this

action as a class action on behalf of all participants and beneficiaries of the Plan.

Plaintiff seeks to certify, and to be appointed as representatives of, the following Class:

       All participants and beneficiaries of the Serco Inc. 401(k) Retirement Plan
       beginning six years before the commencement of this action and running
       through the date of judgment, excluding the Defendant or any
       participant/beneficiary who is a fiduciary to the Plan.

       48.    The Class includes more than 9,757 members and is so large that joinder of

all its members is impracticable, pursuant to Federal Rule of Civil Procedure 23(a)(1).

       49.    There are questions of law and fact common to this Class pursuant to

Federal Rule of Civil Procedure 23(a)(2), because Serco owed fiduciary duties to the

Plan and took the actions and omissions alleged as the Plan and not as to any individual


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participant. Common questions of law and fact include but are not limited to the

following:

              •        Who are fiduciaries liable for the remedies provided by 29 U.S.C. §
       1109(a);

              •        Whether the fiduciaries of the Plan breached their fiduciary duties
       to the Plan;

              •     What are the losses to the Plan resulting from each breach of
       fiduciary duty; and

              •       What Plan-wide equitable and other relief the Court should impose
       in light of Serco’s breach of duty.

       50.    Plaintiff’s claims are typical of the claims of the Class pursuant to Federal

Rule of Civil Procedure 23(a)(3), because Plaintiff was a participant during the time

period at issue and all participants in the Plan were harmed by Serco’s misconduct.

       51.    Plaintiff will adequately represent the Class pursuant to Federal Rule of

Civil Procedure 23(a)(4), because they are participants in the Plan during the Class

period, have no interest that conflicts with the Class, are committed to the vigorous

representation of the Class, and have engaged experienced and competent lawyers to

represent the Class.

       52.    Certification is appropriate under Federal Rule of Civil Procedure 23(b)(1),

because prosecution of separate actions for these breaches of fiduciary duties by

individual participants and beneficiaries would create the risk of (1) inconsistent or

varying adjudications that would establish incompatible standards of conduct for

Defendant concerning its discharge of fiduciary duties to the Plan and personal liability

to the Plan under 29 U.S.C. § 1109(a), and (2) adjudications by individual participants

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and beneficiaries regarding these breaches of fiduciary duties and remedies for the Plan

would, as a practical matter, be dispositive of the interests of the participants and

beneficiaries who are not parties to the adjudication, or would substantially impair

those participants’ and beneficiaries’ ability to protect their interests.

       53.    Certification is also appropriate under Federal Rule of Civil Procedure

23(b)(2) because Serco has acted or refused to act on grounds that apply generally to the

Class, so that final injunctive relief or corresponding declaratory relief is appropriate

respecting the class as a whole.

       54.    Plaintiff’s attorneys are experienced in complex commercial and class

litigation and will adequately represent the Class.

       55.    The claims brought by the Plaintiff arise from fiduciary breaches as to the

Plans in its entirety and do not involve mismanagement of individual accounts. The

claims asserted on behalf of the Plans in this case fall outside the scope of any

exhaustion language in individual participants’ plans. Exhaustion is intended to serve

as an administrative procedure for participants and beneficiaries whose claims have

been denied and not where a participant or beneficiary brings suit on behalf of a plan

for breaches of fiduciary duty.

       56.    Under ERISA, an individual “participant” or “beneficiary” are distinct

from an ERISA plan. A participant’s obligation – such as a requirement to exhaust

administrative remedies – does not, by itself, bind the plan.

       57.    Moreover, any administrative appeal would be futile because the entity

hearing the appeal (the Plan Administrator) is the same Plan Administrator that made

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the decisions that are at issue in this lawsuit. So too, policy supporting exhaustion of

administrative remedies in certain circumstances – that the Court should review and

where appropriate defer to a plan administrator’s decision – doesn’t exist here because

courts will not defer to plan administrator’s legal analysis and interpretation.

                                       LEGAL CLAIMS
                      Count 1 – Breach of Duties of Loyalty and Prudence
                               29 U.S.C. § 1104(a)(1)(A)–(B), (D)

       58.    Plaintiff restates the above allegations as if fully set forth.

       59.    Serco is a fiduciary of the Plan under 29 U.S.C. §§ 1002(21) and/or

1102(a)(1). It is responsible for selecting prudent investment options, ensuring that

those options charge only reasonable fees, and taking any other necessary steps to

ensure that the Plan’s assets are invested prudently. Serco had a continuing duty to

evaluate and monitor the Plan’s investments on an ongoing basis and to “remove

imprudent ones” regardless of how long a fund has been in the plan. Tibble v. Edison,

135 S. Ct. 1823, 1829 (2015).

       60.    29 U.S.C. § 1104 imposes fiduciary duties of prudence and loyalty upon

defendants in their administration of the Plan. The scope of the fiduciary duties and

responsibilities of defendants include managing the assets of the Plan for the sole and

exclusive benefit of Plan participants and beneficiaries, defraying reasonable expenses

of administering the Plan, and acting with the care, skill, diligence, and prudence

required by ERISA. These duties further required Defendant to independently assess

whether each option was a prudent choice for the Plan. DiFelice v. U.S. Airways, Inc.,




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497 F.3d 410, 423 (4th Cir. 2007); see Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 590, 595–

96 (8th Cir. 2009).

       61.    Defendant was directly responsible for ensuring that the Plan’s fees were

reasonable, selecting investment options in a prudent fashion in the best interest of Plan

participants, prudently evaluating and monitoring the Plan’s investments on an

ongoing basis and eliminating funds or share classes that did not serve the best interest

of Plan participants, and taking all necessary steps to ensure that the Plan’s assets were

invested prudently and appropriately.

       62.    Defendant failed to employ a prudent and loyal process by failing to

critically or objectively evaluate the cost and performance of the Plan’s investments and

fees in comparison to other investment options. Defendant selected and retained for

years as Plan investment options mutual funds with high expenses relative to other

investment options that were readily available to the Plan at all relevant times.

       63.    Defendant failed to engage in a prudent process for monitoring the Plan’s

investments and removing imprudent ones within a reasonable period. This resulted in

the Plan continuing to offer unreasonably expensive funds and share classes compared

to equivalent and/or comparable low-cost alternatives that were available to the Plan.

Through these actions and omissions, Defendant failed to discharge its duties with

respect to the Plan in violation of its fiduciary duty of loyalty under 29 U.S.C. §

1104(a)(1)(A).

       64.    Defendant failed to discharge its duties with respect to the Plan with the

care, skill, prudence, and diligence under the circumstances then prevailing that a

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prudent person acting in a like capacity and familiar with such matters would have

used in the conduct of an enterprise of like character and with like aims, breaching its

duties under 29 U.S.C. § 1104(a)(1)(B).

          65.    Defendant is liable under 29 U.S.C. §§ 1109(a) and 1132(a)(2) to make good

to the Plan the losses resulting from the breaches, to restore to the Plan any profits

defendants made through the use of Plan assets, and to restore to the Plan any profits

resulting from the breaches of fiduciary duties alleged in this Count. In addition,

Defendant is subject to other equitable relief pursuant to 29 U.S.C. §§ 1109(a) and

1132(a)(3).

                                      JURY TRIAL DEMANDED

          Plaintiff demands a trial by jury for all issues so triable.



          WHEREFORE, Plaintiff, on behalf of the Plan, requests the following:

          •      A declaration that Defendant breached its fiduciary duties as described
above;

       •      An order that requires Defendant make good to the Plan all losses
resulting from each breach of fiduciary duty, and to otherwise restore the Plan to the
position it would have occupied but for the breaches of fiduciary duty;

      •     An order for an accounting to determine the amounts that Defendant
must make good to the Plan;

          •      An order removing the fiduciaries who have breached their fiduciary
duties;

      •      An order certifying the Class and appointing the named Plaintiff as a class
representative and undersigned counsel as Class Counsel;



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       •     A declaration awarding to Plaintiff and the Class their attorneys’ fees and
costs under 29 U.S.C. § 1132(g)(1);

          •   A declaration awarding interest to the extent it is allowed by law; and

          •   A declaration awarding any other appropriate equitable or remedial
relief.

Dated: January 28, 2020                  Respectfully submitted,

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